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                              IN THE UNITED STATES DISTRICT COURT
                               FOR THE MIDDLE DISTRICT OF FLORIDA
                                       ORLANDO DIVISION

NICHIA CORPORATION,                              )
                                                 )
                 Plaintiff,                      )
                                                 )   Case No. 6:19-cv-1333-RBD-EJK
v.                                               )
                                                 )
LIGHTING SCIENCE GROUP CORP.,                    )
                                                 )
                 Defendant.                      )
                                                 )
                                                 )

      PLAINTIFF NICHIA CORPORATION’S NOTICE OF WITHDRAWAL OF
       MOTION TO STRIKE DEFENDANT’S INVALIDITY DISCLOSURES --
                   SET FOR HEARING ON APRIL 1, 2020

       Nichia Corporation respectfully submits this Notice of Withdrawal of its Motion to Strike

Defendant’s Invalidity Contentions Doc. No. 78, which is set for hearing on April 1, 2020.

       On March 24, 2020, shortly after this Court granted Nichia’s Motion for Leave to File a

Reply, Defendant served its Second Supplemental Invalidity Contentions. As the Second

Supplemental Contentions identify specific prior art on a patent-claim by patent-claim basis,

Defendant has addressed the primary concern Nichia first raised in January.

       Accordingly, Nichia withdraws its Motion to Strike Defendant’s Invalidity Contentions.

       Nichia’s Motion to Strike Non-Infringement Disclosures (Doc. No. 52) which is also set

for hearing on April 1, 2020 is not affected by this notice and remains pending.



Dated: March 26, 2020                        Respectfully submitted,

                                             CARLTON FIELDS, P.A.

                                             By: /s/ Daniel McCallum

                                             Daniel C. Johnson


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                                   CERTIFICATE OF SERVICE

          I hereby certify that a true and correct copy of the above and foregoing has been furnished,

electronically, through the CM/ECF system, to all counsel of record on this 26th day of March

2020.


                                                /s/ Daniel C. Johnson
                                                Daniel C. Johnson




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